Case 2:06-cr-20411-RHC-SDP ECF No. 178, PageID.451 Filed 11/17/09 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 06-CR-20411

RUDOLPH DALRON WILLIAMS, et al.,

              Defendants.
                                                 /

 ORDER DIRECTING THE GOVERNMENT TO PROVIDE TO DEFENDANTS AND
   LODGE WITH THE COURT ANY DEFENDANT’S STATEMENT THAT THE
GOVERNMENT INTENDS TO USE AS EVIDENCE WITH PROPOSED REDACTIONS
            TO COMPLY WITH BRUTON V. UNITED STATES

       Pending before the court are Defendants Rudolph Williams, Frank Pierce, and

Derrick Young’s separate motions for severance. Having reviewed the briefs, the court

will order the Government to lodge with the court and provide to the Defendants any

Defendant’s statement that the Government intends to use as evidence with proposed

redactions to protect the Defendants’ Sixth Amendment Rights as set out in Bruton v.

United States, 391 U.S. 123 (1968) and its progeny.

       Defendants Rudolph Dalron Williams, Frank Pierce, Darryl Pierce, Derrick

Young, and Clarence Jackson are charged in an indictment with conspiracy to possess

with intent to distribute a controlled substance and with killing a person while engaged in

an offense punishable under 18 U.S.C. § 924(c). With the exception of Darryl Pierce, all

of the Defendants “provided post-arrest statements to the police admitting varying

degrees of complicity in the instant offense.” (Govt.’s Resp. at 1.)1


       1
        The Government filed a separate response to each of the Defendants’ motions
for severance. Because each Defendant raised essentially the same Confrontation
Case 2:06-cr-20411-RHC-SDP ECF No. 178, PageID.452 Filed 11/17/09 Page 2 of 3




       Based on these statements, Defendants Rudolph Williams, Darryl Pierce, and

Derrick Young filed motions for severance, requesting relief from prejudicial joinder

under Federal Rule of Criminal Procedure 14. Each Defendant argues that a joint trial

will be prejudicial because the introduction of statements by co-Defendants will deprive

the Defendant of his Sixth Amendment Right of Confrontation. Specifically, each

Defendant argues that the co-Defendant statements implicate him in the crime, and the

Defendant will not be able to cross-examine the co-Defendants because they can

exercise their constitutional right to not testify. See Bruton, 391 U.S. 123.

       In each of its response briefs, the Government argues that the “statements at

issue in the instant case can be redacted in a fashion to satisfy Defendant’s Sixth

Amendment confrontation rights, thus avoiding the need for separate trials.” (Govt.’s

Resp. at 4.) The Government suggests redacting the statements “to indicate in the

broadest possible terms that they each participated in the assault, robbery, and

subsequent murder of Antonio Brown (“Brown”) on January 3, 2006 in the City of

Detroit.” (Id. at 5.) The Government states that the redactions will not contain the word

“deleted,” blank spaces, or symbols, in order to comply with Gray v. Maryland, 523 U.S.

185 (1998). These general proposals by the Government, however, do not enable the

court to determine whether the proposed redactions will protect the Defendants’ Sixth

Amendment Rights thereby making severance unnecessary. In order to properly rule

on Defendants’ motions for severance, the court needs to review the precise redactions

proposed by the Government. Accordingly,




Clause argument under Bruton, the Government filed essentially the same response to
each motion.

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Case 2:06-cr-20411-RHC-SDP ECF No. 178, PageID.453 Filed 11/17/09 Page 3 of 3




           IT IS ORDERED that the Government is DIRECTED to provide to the

Defendants and to lodge, but not file, with the court by November 24, 2009, each

Defendant’s statement that the Government intends to use as evidence with proposed

redactions to protect the Defendants’ Sixth Amendment Right of Confrontation. The

court will hear argument on the Defendants’ motions for severance [Dkt. # 148, 152,

158] at the hearing that has already been scheduled for November 30, 2009.

                                                                   s/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE


Dated: November 17, 2009

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, November 17, 2009, by electronic and/or ordinary mail.

                                                                   s/Lisa G. Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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